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8                              UNITED STATES DISTRICT COURT
9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   MARIA CARRALEZ, and EUGENE                Case No.: 2:22–CV–01613–KJM–DB
     BAUTISTA,
12                                             ORDER VACATING ALL DEADLINES
13          Plaintiff,                         AND DATES IN LIGHT OF CLASS,
                                               COLLECTIVE, AND PAGA
14   vs.
                                               REPRESENTATIVE ACTION
15   SATELLITE HEALTHCARE, INC.                SETTLEMENT SUBJECT TO COURT
16   corporation; and DOES 1-100, inclusive,   APPROVAL

17          Defendants.                        Complaint filed:        8/14/2022
18                                             First am. compl. filed: 1/30/2023

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           ORDER VACATING ALL DEADLINES AND DATES IN LIGHT OF CLASS,
       COLLECTIVE, AND PAGA REPRESENTATIVE ACTION SETTLEMENT SUBJECT TO
                                COURT APPROVAL
     Case 2:22-cv-01613-KJM-DB Document 27 Filed 08/01/23 Page 2 of 2


1                                               ORDER

2           Having considered the parties’ stipulation, and upon good cause shown, the Court hereby

3    GRANTS the stipulation.

4           All dates and deadlines that were previously ordered (ECF No. 25, 23, 21, 19, 15),

5    including but not limited to the responsive pleading deadline, the class certification motion

6    deadline, the fact discovery cut-off, the expert disclosure deadlines, and the dispositive motion

7    hearing deadline, are hereby VACATED.

8           The parties shall file a joint statement regarding the status of their settlement by

9    August 30, 2023.

10          IT IS SO ORDERED.

11   Dated: July 31, 2023.

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          ORDER VACATING ALL DEADLINES AND DATES IN LIGHT OF CLASS,
      COLLECTIVE, AND PAGA REPRESENTATIVE ACTION SETTLEMENT SUBJECT TO
                               COURT APPROVAL
